P`tnewood Mcdical Ccntcr Mail ~ (no Subject) Pagc 1 of §

N’iichaei O'Connetf <michael.oconnelt@painmd,com>

 

 

(_n_o _Subje_et) , ______

t message

 

Kaitlin Hudson <kaitlin. hudson@painmd. com> l\!ion, Oct 4, 2010 at 4:55 PM
To: lvlike O' Conneti i\/iD <mtchael oconne||@pat nmd.com>, "john.schermerhorn@painrnd.corn"
<john.schermerhorn@painmd.com>

§just wanted to thank you guys for helping with the damie thing lt’s been a hard few weeks for me personally
coming into work because ofthe drama, inconsistent attitudes and short fuses l genuinely t§<e what § do. §
enjoy heipihg Set:)oxone patients; t relate with them and t want to see them succeed t fought the same battle
and l know now difficu§t it is. l don't ever want to dread coming to work or have anxiety about sharing the
same space as someone l realize | arn not perfect but §'m striving to be a better human being on a daily
basis which th turn makes me a better employee and co worker. | atso realize that l fall short of my goais
quite often but l feel that my heart is in the right place and l haye_ an immense amount if loyalty to this
company and what l do. im hoping now that my anxiety wili decrease and that“t`h`ings will Be smoother

Kaity

P 3 i know that snow ng viamte wasn t because if me specifically but l still thank you and thank you again

 

-_.__.,._____ ___.___._.._.,__,,,__”______J_ ~-'"""_,~__.__.`_.\.»----'“° ‘E . --~ -~..._-__. ____H_

Sent from my iPnone \i` "

 

 

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